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                       Exhibit E
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                                 AFFIDAVIT OF MŨKOMA NGŨGĨ

I swear under penalty of perjury that the following is true and correct:

   1. My name is Mũkoma Ngũgĩ, I am a Professor at Cornell University in the Department of

       Literatures in English and I reside in Tompkins County, New York.

   2. I am the author of numerous non-fiction works, novels and volumes of poetry focusing on the

       struggle of the people of the African continent for liberation from the centuries-long impact of

       colonial exploitation. My work is recognized and taught world wide.

   3. I have been a close associate and friend of Momodou Taal on campus. I have mentored him, I

       have helped him as he navigates his academic career, and I’ve also been someone to whom he

       has often come for personal advice about the best way to maintain his political and personal

       integrity while also teaching his courses in an objective way. I have great respect for the way he

       has stood up for himself and expressed his views about what Israel has done to the population of

       Palestine. His principled stance against all oppressions (including racial, class, gender,

       sexuality), is something I admire about him. Momodou Taal is a brilliant student that any

       professor would be happy to have in class.

   4. Since the issuance of the executive orders by Trump, I have been deprived of my right to listen

       to my colleague’s views and opinions. I want to help him develop his scholarship, but this is very

       hard to do under conditions where I am worried about whether the university or outside forces

       will monitor and report the things that we say to each other, either in class or otherwise.

   5. As a result of the executive orders, Momodou and I have stopped engaging with each other in

       public in the way we used to. It has been hard for me, as someone who always values what he

       has to say, to reconcile my desire to keep teaching others with my desire to speak up against his

       being silenced. I truly wish I could call a public meeting—or even invite professors to dinner to
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      meet with Momodou and hear his perspective on things—but I can’t. I’m too worried about

      putting him at risk of deportation, since I’m also associated with criticism of U.S. foreign policy

      and the policies of the government of Israel. I do also worry about whether my own association

      in public with Momodou would be seen as “anti-Semitic.” Neither of us has any ill feelings

      toward our Jewish colleagues and friends who have struggled with us against oppression and

      state violence.

   6. I will say that I am particularly upset that Momodou was forced to miss his book launch. I know

      that for an author, a book launch is a critical moment in one’s academic and intellectual life.

      There is something about shaking hands with one’s readers, hearing their thoughts, talking to

      them in person, signing their copies—Momodou missed out on all of this because he has a

      legitimate fear of being turned away at the border for no good reason, given that the things he

      said while residing in the U.S. should be protected by the Constitution.

   7. I am afraid of being subjected to criminal prosecution as a result of the second executive order

      that mentions “anti-Semitism” without a clear definition. I have been critical of multiple

      governments (African governments, the Israeli government, the US government) and I don’t

      believe we should conflate criticism of the State with criticism of a State’s citizenry.

   8. I believe the legal term is “irreparable harm.” I certainly feel that I’ve been harmed in a way that

      I can’t repair unless and until I’m able to speak freely and openly with Momodou Taal again.



Signed,

                                                            Date: 14th March 2025
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                          AFFIDAVIT OF SRIRAM PARASURAMA

 I swear under penalty of perjury that the following is true and correct:

     1. My name is Sriram Parasurama, I am a graduate student at Cornell University and I

        reside in Tompkins County, New York.

     2. I am a second-year Ph.D. student in the School of Integrative Plant Sciences. In 2023, I

        was awarded the NSF Graduate Research Fellowship to support my research on tree

        physiology and forest ecology. I have also served as a teaching assistant for the

        University and I currently maintain a 4.3 cumulative GPA.

     3. I was a close associate of Momodou Taal during the demonstrations that protested the

        Israeli government’s actions against the people of Palestine. Since the issuance of the

        executive orders in question, I have been deprived of my right to listen to my friend’s

        views and insights on what Israel is doing to the people of Palestine. Momodou always

        brings such a rich historical and cultural analysis to our discussions of the political

        situation in the US and internationally, but he’s been forced to stay quiet since the

        executive orders came out. We used to meet up all the time, go out for coffee, plan

        demonstrations, and discuss political issues but, despite our friendship remaining strong,

        the looming threat of disciplinary action has made our open association infinitely more

        tenuous.

     4. I am not able to interact with Momodou as much as before out of fear of being falsely

        labeled “anti-Semitic.” Additionally, given my own prior prominent involvement in

        protest activity and subsequent discipline, Momodou is not able to freely associate with

        me as it might lead officials, either at the university or the government, to believe that he
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        is engaging in “anti-American” activity. We have been forced to stop seeing each other in

        public.

     5. Having already dealt with criminal allegations, I fear being subjected to further criminal

        prosecution myself because of the second executive order here. It is unclear what type of

        speech, such as criticism of the state of Israel, might constitute “anti-Semitism,” as I do

        not harbor any ill will toward Jewish people at all. In fact, many of those who have been

        involved in protest activity with me are Jewish, and I consider our unity in opposition to

        American and Israeli government policy regarding Palestine to be a great strength of our

        movement. Nevertheless, I worry about interacting with my friends and fellow activists

        for fear of putting all of us at risk of deportation or criminal prosecution.

     6. As a scientist researching the impacts of climate change on our great North American

        forests, I additionally fear that pressure from these executive orders and my open

        association with Momodou and the Palestinian cause will negatively impact my ability to

        carry out my critical research. In order to maintain compliance with these directives, I

        worry that many of my grant and fellowship sources will revoke current funding or refuse

        to provide future funding for this vital research I conduct. I wholeheartedly believe in the

        mission of scientists, the pursuit and defense of knowledge and truth, but am restricted by

        the demonization of my and Momodou’s political thought.



 Signed,

                                                       Date:
